                     CIVIL CAUSE FOR Telephone Pre-Motion Conference

BEFORE JUDGE: Eric R. Komitee, U.S.D.J.
DATE:2/9/22
TIME IN COURT: 45 MINS


DOCKET NUMBER: CV 20-5861
TITLE: Sabino v. Chairperson of Division of NYS Parole, et al

COURT REPORTER: Electronically recorded


APPEARANCES:

       Plaintiffs:    Saul Sabino (appearing pro se)
       Defendant:     David Cheng



SUMMARY: As discussed, no later than February 16, Defendant shall (1) file the notice
provided by the State to the City regarding the vacatur of Mr. Sabino's parole warrant; (2) advise
the Court how such notice was transmitted to the City; and (3) use its best efforts to determine
and inform the Court whether there was any other basis for detaining Mr. Sabino after the
warrant was vacated. Plaintiff's motion to amend his complaint is granted. Mr. Sabino shall
submit the amended complaint within six weeks of receiving the Defendant's submission. The
Defendant shall answer or move to dismiss the amended complaint within thirty days of
receiving it. Counsel for the Defendant shall serve a copy of this minute entry and all filings in
this case by hand delivery to Plaintiff until further order of the Court.
